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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,         CR. NO. 17-20439
v.
                                       HONORABLE LAURIE J. MICHELSON
LAWRENCE DAVIS,

                    Defendant.
                                       /

                       DEFENDANT’S MOTION TO
                 DISMISS FOR SELECTIVE PROSECUTION

      NOW COMES Defendant Lawrence Davis, by and through his attorneys

ANDREW DENSEMO and JESSICA LEFORT, and for his Motion to Dismiss says

to this Court as follows:

      1.     Defendant is charged in a one count Indictment with Distribution of a

Controlled Substance, in violation of 21 U.S.C. §841(a)(1).

      2.     The trial date is currently scheduled for November 27, 2017.

      3.     This prosecution must be dismissed because the Defendant (who is

African American) is an individual that has been selected for prosecution in an unfair

and unconstitutional manner, in violation of the equal protection clause in the United

States Constitution, as more fully set forth in the attached Memorandum.
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      WHEREFORE, the Defendant respectfully moves this Honorable Court to

dismiss this Indictment.


                                   Respectfully submitted,

                                   FEDERAL DEFENDER OFFICE


                                   s/Andrew Densemo
                                   ANDREW DENSEMO (P37583)
                                   JESSICA LEFORT
                                   Attorneys for Defendant
                                   613 Abbott, 5th Floor
                                   Detroit, Michigan 48226
                                   Phone: (313) 967-5829
                                   E-mail: andrew_densemo@fd.org

Dated: October 6, 2017




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,         CR. NO. 17-20439
v.
                                        HONORABLE LAURIE J. MICHELSON
LAWRENCE DAVIS,

                     Defendant.
                                        /

           MEMORANDUM IN SUPPORT OF DEFENDANT’S
         MOTION TO DISMISS FOR SELECTIVE PROSECUTION

      NOW COMES Defendant Lawrence Davis, by and through his attorneys

Andrew Densemo and Jessica Lefort, and for his Memorandum in Support of

Defendant’s Motion to Dismiss for Selective Prosecution states the following:

      Government officials may not enforce criminal statutes in a discriminatory or

selective fashion.

      “Though the law itself be fair on its face and impartial in appearance, yet, if it
      is applied and administered by public authority with an evil eye and an unequal
      hand, so as practically to make unjust and illegal discriminations between
      persons in similar circumstances, material to their rights, the denial of equal
      justice is still within the prohibition of the constitution.”

Yick Wo v Hopkins, 118 US 356, 373 (1986).
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      Mr. Wo was convicted of violating an ordinance in San Francisco making it

unlawful for person to maintain a laundry within the city, without first obtaining the

permission of the Board of Supervisors, unless the laundry was unconstitutionally

located in a building constructed of brick or stone. The statute was fair on its face,

and was a reasonable exercise of the police power, however, the Court found that it

was enforced predominately against individuals of Chinese origin.

      Yick Wo held that selective prosecution of an otherwise lawful ordinance was

unconstitutional. See also: Two Guys from Harrison-Allen Town, Inc. v McGinley,

District Attorney, 366 US 582 (1961). The Defendant is aware that he bears the

burden of showing through clear and convincing evidence that other persons similarly

situated are not being prosecuted and that the prosecution is based on an

impermissible motive. U.S. v Armstrong, 517 US 456, 464 (1966). Mr. Davis is also

aware that the mere fact federal penalties are higher than those for similar State

prosecutions is not enough to show selective prosecution. U.S. v Davis, 15 F.3d 526,

530 (6th Cir. 1984). The Armstrong decision indicates that a defendant must produce

credible evidence that similarly situated defendants of other races could have been

prosecuted under the same statutes, but were not, in order to establish entitlement to

discovery on a claim of selective prosecution based on race. Armstrong supra at 465.




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      In this case, Mr. Davis questions the decision to prosecute him to the exclusion

of all others. Despite a state and federal investigation which has identified a

Caucasian female who admits to directly delivering controlled substances to the

decedent, the prosecution has elected to forego charges against her and only proceed

against Mr. Davis. The police reports indicate that the unidentified female, who

happens to be the mother of the decedent, purchased illegal narcotics on multiple

occasions and may have provided drugs to her deceased son on some of those

occasions as well. Mr. Davis is only 25 years of age. He does not have a prior

conviction for drug distribution. The quantity of drugs involved is minimal. The

decedent and his mother had longstanding histories of addiction to various controlled

substances. The decedent’s mother provided false information to law enforcement

regarding her son’s death and her involvement in it. It appears from the reports that

she may have even tampered with or removed evidence from the crime scene. None-

the-less, she remains unindicted in this case.

       On the other hand, Mr. Davis is being prosecuted by the federal government

and faces a 20 years mandatory minimum term of imprisonment. The government has

sought and obtained his detention without bond. It is likely the trial of this matter will

be adjourned until a date in 2018 due to the investigation and research the defense

needs to conduct. The defense is aware that in United States v. William Sparks,(E.D.


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of Mich, 06-20330), the government did not seek Mr. Sparks’ detention, nor did it ask

for the mandatory minimum period of incarceration. Mr. Sparks allegedly gave a

fentanyl patch to a young man who died as a result of ingesting a portion of the

patch’s content. He died on the naval base where he had been stationed. Mr. Sparks

was eventually sentenced to a custodial term of 30 months. Mr. Sparks was a

Caucasian male approximately 57 years of age.

      The U.S. Attorney’s Office is in a unique position to provide information on

any other individuals who have been prosecuted for their participation in the charged

offense as well others defendants who have been charged with this offense over the

past five years. The Court should order the U.S. Attorney’s Office to provide defense

counsel with this information. We submit that the persistent and pervasive pattern of

discriminatory treatment of Lawrence Davis warrants a dismissal of the current

charges. It is clear that he has been unfairly targeted and selectively prosecuted by the

federal authorities. The only appropriate remedy under the facts of this case is to

dismiss the charges against Mr. Davis.

      WHEREFORE, Defendant prays that this Honorable court will grant the relief

requested herein and dismiss the charges or in the alternative, provide defense counsel




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with the names and case numbers of all defendants charged with distribution of a

controlled substance with death resulting, over the past five years.

                                        Respectfully submitted,

                                        FEDERAL DEFENDER OFFICE


                                        s/Andrew Densemo
                                        ANDREW DENSEMO (P37583)
                                        JESSICA LEFORT
                                        Attorneys for Defendant
                                        613 Abbott, 5th Floor
                                        Detroit, Michigan 48226
                                        Phone: (313) 967-5829
                                        E-mail: andrew_densemo@fd.org

Dated: October 6, 2017




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,         CR. NO. 17-20439
v.
                                      HONORABLE LAURIE J. MICHELSON
LAWRENCE DAVIS,

                   Defendant.
                                      /

                         CERTIFICATE OF SERVICE

      I hereby certify that on October 6, 2017, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system which will send notification
of such filing to the following:

                          MARK BILKOVIC
                          Assistant United States Attorney
                          United States Attorney's Office
                          211 W. Fort Street, Ste. 2300
                          Detroit, Michigan 48226

                                      Respectfully submitted,

                                      FEDERAL DEFENDER OFFICE

                                      s/Andrew Densemo
                                      ANDREW DENSEMO (P37583)
                                      JESSICA LEFORT
                                      Attorneys for Defendant
                                      613 Abbott, 5th Floor
                                      Detroit, Michigan 48226
                                      Phone: (313) 967-5829
                                      E-mail: andrew_densemo@fd.org
Dated: October 6, 2017
